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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,                          )
                                                    )
        Plaintiff,                                  ) Civil Action No. 1:04-cv-00798-PLF/GMH
                                                    )
                       v.                           )
                                                    )
                                                    )
                                                    )
 ALL ASSETS HELD AT BANK JULIUS                     )
 BAER & COMPANY, LTD., GUERNSEY                     )
 BRANCH, ACCOUNT NUMBER 121128,                     )
 IN THE NAME OF PAVLO                               )
 LAZARENKO, LAST VALUED AT                          )
 APPROXIMATELY $2 MILLION IN                        )
 UNITED STATES DOLLARS, ET AL.,                     )
                                                    )
             Defendants.                            )


                                           ERRATA

       Attached please find a complete copy of the appendix to the Bank Julius Baer Motion for

Summary Judgment (dkt. 1257). Counsel has filed all the documents in one PDF file for ease of

the parties and the Court. The deposition testimony of Peter Kiritchenko is attached, although it

is remains redacted. A sealed copy can be found at dkts. 1258-2, 1258-3 & 1258-4. Magistrate

Judge Harvey has set a briefing schedule pertaining to an order unsealing this deposition

testimony.

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                              Respectfully submitted,

                              BLANK ROME LLP

                              By: __/s/ Jed M. Silversmith________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2020, I electronically filed the foregoing document with

the clerk of the court for the U.S. District Court for the District of Columbia, using the electronic

case filing system of the court. The electronic case filing system sent a “Notice of Electronic

Filing” to the attorneys of record who have consented in writing to accept this Notice as service

of this document by electronic means. I also certify that parties not so noticed have been served

in accordance with Fed. R. Civ. P. 5(d).




                                                              ___/s/ Jed M. Silversmith____
